EXHIBIT A

 

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I,_E€/\NNB SPARLING and MICI:IAF.L J ) N<:, 37.2013.00@34563-CU.pL~CTL
SPARF_,]N G, on behalf oi`ancl as }
representatives for M.'FCHAEL L SPARL`I`N(_"T, } C(§)Ivl`l"]l.AH\l'l` FOR.DAMAGES z-\NI)
<']c:ceasc:d, )
) D}EMAND ]*`OR JURY TRIAL
)
) 1. Negligencc
Plainiiff:`s, ) 2. Strist Pl‘oducts liability ~ Defective
\ ) Desjgu
) 3, Strict Prc)ducts liability ~- .Faihzre 1'0
) Warn
\1, ) 4. Breach of Express Wan~anty
) 5, Breach of Express Warranty
) 6. Breach of lm])!ied Warramy
) 7. `Unlawful Business Acts and Practices
USPLABS, LI`..CI, JONAT[~‘}AN VINCENT ) in Violaticm'c)'f Califomia `Business. z\nd'
DOYLB (zm individual), .IACOB GEISSLIER `) Pro‘l"essions Code §`] 72()() et seq.
(im individual), 'I_FS.I’I.,ABS .TACKB`D, LLC, ) 3. Punitive Damages
USPLABS HOI.,D`ING, LLC, G`NC ) 9. `Wrongful Dea£h
CORPORATION, N!\TURAL )
.ALTEIU\IA"I`IVES D\]"l`ERNA'I`]ON/-\L, INC., )
mch DO.ES 1-500, `Inc]usi\'e, )
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COMPL/\lN'l` FOR DAM.AGES AND D]EMAND I"OR JURY ’]"R'[AL

 

 

 

 

 

Plaintiffs LEANNE SPARLING and MICHAEL J SPARLING, on behalf of and as
successors/representatives for MICHAEL L SPARLING, deceased, by and through their Attorneys
of record, bring this action against Det`endants USPLABS, LLC, .TONATHAN VINCENT DOYLE
(an individual), JACOB GEISSLER (an individual), USPLABS JACI{BD, LLC, USPLABS
HOLDING, LLC, GNC CORPORATION, NATIML ALTERNATIVES lNTERNATIONAL,
INC., and DOES 1-500, (collectively, “DEFENDANTS”). Plaintiff`s allege on information and

beliet`, except for information based on personal lcnowledge, as folloWs:

J'URISDIC'I‘ION AND VENUE
l. Plaintiffs allege an amount in controversy in excess of the minimal jurisdictional
limits of this Court.
2. Venue is proper since at least one Defendant can be found in this County.
DEFENDANT PARTIES
I. Pl'oduct Manufacturers
3. Defcndants USPLABS, LLC, USPLABS .TACKZD, LLC, and USPLABS HOLDING,

LLC are Wyoniing corporations (except as to USPLABS, LLC Which is a 'l`exas corporation)
headquartered in Da]las, TX and Were and are regularly engaged in the business of licensing
manufacturing formulating packaging distrilniting1 and/or selling, either directly or indirectly,
through third parties or related entities, non~presciiption dietary supplements for sale to, and use by,
members of the general public, and as apart of their business, said Defendants, directly or indirectly
Were and are engaged in the manufacturing/fennulattng/paclcaging/distributing/selling of a
purported nutritional/dietary supplement under the proprietary, trademarked name “Jacchd” in
interstate commerce and in Califonn`a, Which Plaintiff-Decedent ingested as alleged herein

4. flacde contains the ingredient l,3-dirnethylan1ylamine (also known as, and
hereinafter referred to, as “DMAA” , a dangerous sympathoinimetic, Which can cause adverse
cardiovascular events such as heart attack, stroke, heart arrhythniias, heart palpitations, dizziness,
cardiac arrest, rhabdomyolysis, loss of consciousness and death.

5. Defendants JONATHAN VINCENT DOYLE and JACOB GEISSLER, Who live in

Denton, TX, are individuals having ownership interest in and executive positions in the USP entities

 

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COMPLAI'NT FOR DAMAGES AND DEMAND FOR IURY TR_lAL

 

 

 

 

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Upon information and belief, Defendants DOYLE and GBISSLER are shareholders in each cf the
USlj entities, are corporate officers in each of the USP entities, direct and participate in the day to
day operations of the USP entities, were responsible for the acts of the USP entities and for all
intents and purposes own, operate and act through the USP entities (USPLABS, LLC, JONATHAN
VINCENT DOYLE (an individual), JACOB GEISSLER (an individual), USPLABS JACKBD, LLC,
and USPLABS I-IOLDING, LLC, are hereinafter collectively referred to as “USP” or “USP
DEFENDANTS”.)

6. Furtherrnore, USP DEFENDANTS were at all times alleged hereinunder the control
of their founders and dominant principals, Defendants JONATHAN Vl'NCENT DOYLE and
JACOB GEISSLER. The Corporate filing for USPLabs, LLC with the Texas Secretary of State
states c‘The limited liability company is to be managed by managers, the names and addresses ofthe
governing persons are set forth beiow” wherein GEISSLER and GOYLE are named

7. At‘ all times herein alleged, each of the acts of the employees, including but not
limited to Defendants DOYLE and GEISSLER, were on behalf of, for the benefit of, at the direction
of, and at the behest of USP DEFENDANTS and Were ratified by said USP DEFENDANTS.
Further, each of the acts of the eniployees, including but not limited to Defendants DOYLE and
GEIS SLER were done pursuant to and in accordance with corporate policy.

8. USP DBFENDANTS, and each of thein, are engaged in a single enterprise of
developing, marlceting, and distributing dietary supplements There exists, and at all times herein
alleged, there existed, a unity of interest in ownership between and among USP DEFENDANTS
such that any individuality and separateness between and among USP DEFENDANTS has ceased
and the individual USP DEFENDANTS are the alter~egos of and agents of each other and exerted
control over each other. Adherence to the fiction of the separate existence of the USP
DEFENDANTS as entities distinct from each other will permit an abuse of the corporate privilege
and would sanction fraud and promote injustice The alter ego entities were formed for the purpose
cf selling untested and dangerous dietary supplements, including laclc3d,whichcan'ied ahighn`slc

of causing serious personal injuries, without being responsible to the injured customers

 

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COMPLAINT FOR DAl\dAGES AND DEMAND FOR .TURY TRIAL

 

 

 

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9. Additionally the corporate iiction of USP DEFENDANTS, and each ofthem, were a
sham to perpetrate a fraud as herein alleged and to shield GEIS SLER, DOYLE and the responsible
USP entities from liability for breach of their legal and equitable duties A_dherence to the fiction of
the separate existence ofthe USP DEFBNDANTS would promote injustice and result in inequity to
Plaintiffs.

10. At all relevant times, the USP DEFENDANTS were each engaged in the business of
designing, developing, manufacturing testing, packaging, promoting, marketing distdbuting,
labeling, and/or selling, directly and indirectly, through third parties or related entities Jack3d and/or
the Defendants are otherwise responsible as corporate successors for the liabilities of the entities that
designed, developed, manufactured tested, packaged, promoted, marketed, distributed, labeled
and/or sold lackfid.

ll. Upon information and belief, at all relevant times, the USP DEFENDANTS were
present and doing business in the State of California.

12. At all relevant times, the USP DEFENDANTS transacted, solicited, and conducted

business whether through retail stores or through internat merchants in the State of Califomia and

derived substantial revenue from such business

l3. At all relevant times, the USP DEFENDANTS expected or should have expected that
their acts would have consequences Within the United States of Arnerica and within the State of
California.
II. lngredient Manut’actu rch

14. Defendant NATURAL ALTERNATIVES lN'l`ERNATIONAL, INC. (hereinafter
“NAI”), is a California corporation headquartered in San Mareos, CA and Was and is regularly
engaged in the business of contract manufacturing of ingredients andfor mixtures, both trademarked
and not, used in non~prescription nutritional/dietary supplements for sale to, and use by, members of
the general public, and as a part of their business, said Defendant, directly or indirectly was and is
engaged in the manufacturing/fonnulating/pacl<aging/distributing/selling of an ingredient
trademarked under the name Carno Syn for the USP DEFENDANTS for use in laclc3d in interstate

commerce and in California7 which Plaintiff-Deccdent ingested as alleged herein

 

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COMPLAINT FOR DAMAGES AND DEMAND FOR .TURY TRlAL

 

 

 

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15. NAI manufaculred the CarnoSyn contained in the actual .lack3d purchased and
ingested by Plaintiff-Decedent as alleged herein Carno Syn contains beta-alanine, which Def`endant
advertises/ encourages users to increase the length, workload and intensity ofworlcouts. As a result,
persons using products containing CamoSyn, such as the latide used by Plaintiff~Decedent, and
engaging in more intense Workouts are subject to heightened effects and exacerbation of the
sympathomimetic and adverse effects of DMAA. NAI additionally marketed CarnoSyn to USP
knowing the ingredient would be used in a product containing sympathomimetics, which when used
in conjunction with CarnoSyn during intense workouts would subj ect consumers to an increased risk
from cardiovascular stress. 'Moreover, CarnoSyn, as a trademarked ingredient may include as yet
undetermined chemicals in addition to beta-alenine contributing to the toxicity ofJacchd. As alleged
herein, as a result of exposure to CarnoSyn and DMAA contained in the laclc?)d ingested by
Plaintiff-Decedent, Plaintiff`s suffered injuries as alleged herein.

IlI. Retailers

16. Defendant GNC CORPORATION (“GNC”) is a Delaware corporation with its
principal place of business located in Pittsbur§i, Pennsylvania. Defendant GNC conducted regular
and sustained business in the State of Calif`ornia and throughout the nation, including the sale cf
Jacde by its retail outlets, affiliates and franchisees Defendant GNC was regularly engaged in the
business of pacltaging, distributing and/or selling, either directly or indirectly, through third parties
or related entities, non-prescripti on nutritional/dietary supplements for sale to, and use by, members
of the general public, and as a part of their business said Defendant sold the Jaclc3d purchased by,
ingested by and causing harm tc Plaintiff»Decedent as alleged herein

17. At all times herein alleged, each ofthe acts of the employees of GNC were on behalf
of, for the benefit of, at the direction of`, and at the behest of GNC and Were ratified by GNC.
Futther, each of the acts of the GNC employees Were done pursuant to and in accordance with
corporate policy.

18, The true names or capacities, whether individual, corporate, or otbelwise, of
Defcndants DOES l through 500, inclusive, are unknown to Plaintiffs who are therefore ignorant of

the true names and sues said Defeudants by such fictitious narnes. Plaintiffs believe and allege that

 

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COMPLAINT FOR DAMAGES AND DEM.AND FOR IURY TRIAL

 

 

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each of the Det`endants designated herein by fictitious names is in some manner legally responsib1e
for the events and happenings herein referred to and caused damages proximately and foreseeably to
Plaintiffs as alleged herein.

19. At all times hereinafter alleged, “DEFENDANTS” include all herein named
Defendants as well as Defendauts DOES l through 5 00, inclusive

20. At all times herein alieged, each of the DEFENDANTS Was the agent, servant,
partner, aider and abettor, co-conspirator and j oint venturer of each of the remaining DEFENDANTS
herein and was at all times operating and acting within the purpose and scope of said agency,
service, employment, partnership, conspiracy and joint venture and`rendered substantial assistance
and encouragement to the other DEFEND ANTS, lmowing'that their conduct constituted a breach of
duty owed to Plaintiffs.

PLA]NTIFF-DECEDENT

21. At all relevant times, Plaintiffs LEANNE SPARLING and MICHAEL J SPARLING
were residents of the State of` California.

22. Plaintift`s LEANNE SPARLING and MICHAEL J SPARLING are the parents of`, and
sole successors in interest to the Plaintiff~Decedent MICHAEL L SPARLING.

23. Plaintiff~Decedent MICHAHL L SPARLING Was a domicile of California since
although at the time of his injury he was temporarily residing in the State of Texas, he intended to
return to Calit`ornia. He had no intent to remain in Texas indefinitely He was there temporarily He
was registered to vote in Califomia, paid taxes in California, his family was located in California,
and he was only physically present in Texas for a little over one month as opposed to Calif`ornia
where he resided his entire life.

24. In or about late April until his death on Junc 1, 20l1, Plaintift`~])ecedent ingested
iaclt§‘d purchased from a GNC store in Sacramento, California and at Fo1t Bliss, El Paso, Texas.

25. At no time did Plaintiff»l)ecedent take more than the recommended closing regimen

contained in lackB d.

26. On the morning of June l, 2011, the Plaintiff`-Decedent MICTMEL L SPARLING

tooit the recommended dosage of lacklid, which he purchased from a GNC on the Fort Bliss base.

 

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CON[PLAINT FOR DAMAGES A.ND DEMAND FOR JURY TRIAL

 

 

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Shortly thereafter he engaged in physical training with his unit during which he collapsed, requiring
immediate medical attention

27. On lune 1, 2011, after taking the recommended dosing of and as a result of Jack?»d
manufactured by USP and NAI and sold by GNC, Plaintiff-Decedent suffered cardiac arrest,
hypertherrnia, rhabdomyolysis, disseminated inn'avascular coagulation, death and related injuries.

FACTUAL BACKGROUN])
The JACK§D
28. hacde is a trademarked product sold by USP. Jaek3d contains the following

ingredients as depicted in its labcl:

 

 

 

 

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29. One of the ingredients of Jack3d is DMAA. DMAA is a dangerous sympathoniimetic.
laci<3d additionally contains caffeine, thereby increasing the sympathornimetic qualities and
dangers of DMAA.

30. Jaclc3d additionally contains CarnoSyn a propriety beta~alanine product made by

NAI, which is also dangerous

 

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COMPLAI'NT FOR DAMAGES AND DEMAND FOR JUR_Y TR.IAL

 

 

 

 

 

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31. Additionally, Jaclc3d does not worlc.
32. Jaclc3d is sold through retailers such as GNC in Califomia and across the country.

DMA, a Dangerons Chemz'cal Shunned by the Pharmaceuricai Industrj), Reemerges in
Dr'erary Suppi'ements
33. DMAA is an active ingredient contained in Jacchd manufactured marketed,
distributed and sold by DEFENDANTS.

34. DMAA, also known as methylhexanamine ('MHA), is an aliphatic amine compound
that has properties mimiclcing those of the endogenous neurotransmitters of the sympathetic
nervous systeml As such, it belongs to a group of compounds known as “sympathornimetics.”
Members of this class include ephedrine and the amphetamines

35. While sympathomimetics are used by physicians to increase blood pressure and to
constrict blood vessels, they are also widely abused because of their perceived ability to enhance
athletic performance and in some cases induce euphoria.

3 6. Sympathorninietic compounds were originally developed in the 19th century as drugs
for the treatment of cold symptoms Compounds capable of constricting blood vessels were
actively sought. First cocaine, then epinephrine, and in 1925 ephedrine, were used for this purpose
l-lowever, the adverse effects, inability to provide long term relief and addictiveness eventually
resulted in the search for a similarly structured chemicals Through trial and error, it was eventually
determined that slight modification of the ephedrine molecule would result in molecules having
equivalent vasoconstrictor properties to ephedrine These modifications eventually led to the
development of DMAA, originally named Fouramine.

37. la 1943, DMAA was introduced as a nasal decongestant by Eli Lilly under the trade
name of Forthane. For unexplained reasons Lilly voluntarily withdrew Forthane from the market in
1983. No other prescription or over~the~counter drugs or dietary supplements used DM.AA from

1983 until approximately 2005. In 2005, Patricl< Arnold, a chemist convicted for his role in the

 

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COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL

 

 

 

 

 

 

BALCO baseball steroid scandal, reintroduced MI~lA/DMAA as an cver-the»counter dietary
supplement With amphetamine-like qualities itwas marketed as an alternative to ephedrine. The use
of DMAA in dietary supplements spread and eventually found its Way into Jacchd.

3 8. Aninial testing in a variety of models demonstrated that DMAA Was a potent presser
drug causing increases in blood pressure that is comparable to ephedrine The structure of and
mechanism by which DMAA increases blood pressure is thus similar to ephedrine Dietmy
supplements containing ephedra, the natural form of ephedrine, Were ordered off the market by the
FDA in 2004, because the blood pressure and heart rate effects Were associated Witir a number of

serious adverse events to users including heart attack, stroke and death.

Dej%ndants ’ Jack$d Clczims

39. DEFENDANTS conveyed their deceptive claims about the J ac1r3d

through a variety of media, including television, newspapers, magazines, direct mail, the lnteruet,
point of sale displays, and‘on the lack?»d labels and packaging ln addition, retailers, including
Defendant GNC, promoted marketed and sold Jaclc'.id in stores, on its websites and through other
mediums of advertising
40. In their advertisements and on their Website, USP represented that Jacde is:

- “Voted # 1 Pre-Workout”

~ “B acked by 2 Peer~RevieWed Published Cl_inical University Research Studies”

- “.lacde is now backed by multiple University studies, including double-blindl

placebco~controlled rcsearch.”
- “Jack§id ~ proven in the real World & in the lab . . .”
These representations Were false, misleading and deceptive

41. USP §urther represented units website that

 

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COM`PLAINT FOR DAMAGBS AND DBMAND FOR J'URY TRIAL

 

 

 

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“The hemodynamic response to acute ingestion was assessed as well. OxyElite Pro
(anothcr DMAA-containing product made by USP) did not result in a statistically significant
change in heart rate or diastolic pressure, but did cause a statistically significant change in
systclic blood pressure from baseline. 'l`his increase was mild and transient, and was similar
to the changes reported in the scientific literature for subjects ingesting an amount ofcaffeine
equivalent to 2-3 cups of coffee.”

~ “Jack3 d, which contains DMAA, was well tolerated and no serious adverse events Were
noted.”

» “At the beginning and end of the study, blood pressure, heart rate and various indicators cf
renal and liver function were assessed The study found that there were no statistically
significant changes from baseline to the end of the study. No serious adverse events were
noted.”

~ “NEWLY RELEASED, GROUNDBREAKING RESEARCH STUDIES SI-IOW

USPLABS’ DMAA SUPPLEMENTS ARB SAFE AND EFFECTIVE.”

USP’s representations were false, misleading and deceptive

42. USP also advertises on fitness blogs and Websites such as bodybuilding.com making

similar representations In fact, Dei`eudant GEIS SLER even writes letters on such sites claiming

lacch d:

- will make “everyone dominate the weights and have crazya lasting energy along with

sick, muscle-engorging uumps.”

- contains a “synergistic combination (which) is KE ,”

- is not lilce other products, which are “a bunch of ingredients thrown together
haphazardiy,” and

- uses “only the highest quality ingredients.”

 

 

 

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COM`PLAINT FOR DAMAGES AND DEMAND FOR JURY TRlAL

 

 

 

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However, these like the other misrepresentations with respect to the safety, efficacy, and purity of

lack?) d, are false, misleading and deceptive

43. USP has also issued press releases, which promote the purported safety and efficacy
of laclc3d. FOI’ chInplc, on February 24, 20l2, just weeks after the Defense Departrnent pulled
laclth item military store shelves, USPLabs issued apress release entitled “USPLabs lacl<Bd Peer~
Review Ciinical Safety Study Published.” ln its press release, USPLabs stated:

USPlabs lacdeTM and OxyElite Pro® are among the most studied finished dietary l
supplements ever sold. 'l`his most recent study is the 7th peer-reviewed, published clinical
trial supporting the safe use of DMAA when used as directed,. in addition to an industry
estimated over one billion servings consumed by satisfied customers More specifically,
laclchTM & OxyElite Pro® have 5 clinical trials that show they are safe when used as
directed

44. USP made similar statements about the purported safety and efficacy of the lack?)d in
another press release, dated March 7, 2012, entitled “USPlabs Shares Results of Seven Peer~
Reviewed DMAA Sai`ety Studies as Part of Scientitic Review on lackB dTM , . . ."

45. USP owns and operates another website, www.dmaaresearch.com, where it makes
similar statements about the purported research supporting the safety and efficacy of DMAA. For
example, on its dmaaresearch. com website USP lists “[a] 11 current available clinical data on
DMAA,” which are also purportedly “conducted by independent experts and published inrespected
journals.” As discussed herein, the “seven” studies cited by USP and discussed on its websites, are
not conducted by independent experts, are not published in legitimate journals, and hirthennorc,
demonstrate that Defendants’ claims about the safety and efficacy of lacerd are unsubstantiated
false and deceptive

46. US'P’s websites, including www.USPLabsDirect,com andwww.Dl\/lAAResearch.com
are available to the general public and USP’ s advertisements in other media promote these websites.

47. GNC further enabled USP to make representations concerning the quality of the

laclr3 d. The retailers that sold the lacch d adopted, and are responsible for, the representations USP

 

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made on packaging regarding the safety and efficacy of the lackfid, when they decided to place such 7

lack3 d on their store shelves, on military bases and on retail websitcs, and thereafter advertised and
sold such lacch d to Plaintiff-Decedent. Further, GNC advertised and included a prominent link on
its own website to USP’s Iack3d websites.

48. GNC further reinforces these claims of safety and efficacy For example, it states that
lacch dis “Uuiversity Studied.” The representation that lack3d is “universally studied” implies that
the studies universally demonstrate safety, when instead they demonstrated blood pressure and heart
rate findings which do not demonstrate safety.

49. Despite the overwhelming evidence that Jaclc3d is neither safe nor effective, GNC
continued to make public statements to the contrary, assuring consumers that DMAA is safe. For
exarnple, in response to the FDA’s 2012 warning letter GNC statcd: “Wc are completely opposed to
this unilateral, factually and legally unfounded action by the FDA and we believe the large consumer

base that has safely used products containing DMAA in millions of doses will also oppose it.” GNC

 

further stated that “DMAA is perfectly safe When taken as directed_”

5 0. In February 2012, under pressure from the Depart:ment ofDefense after the death of
two soldiers from lack3d, including Plaintiff~Decedent, GNC agreed to pull its DMAA~containing
products, including lacde, from its stores on military bases Nevertheless, GNC continues to
market and sell lacl<?»d to consumers in its other retail stores and through its online website.

5 l. NAl advertises of its beta~alanine ingredient under the trademarked name CarnoSyn,

that:
In nearly every athletic endeavor, from bodybuilding and cycling to rotating and swinuning,
numerous clinical studies have proven Beta-Alanine is effective in boosting muscle
carnosine, buffering lactic acid, increasing strength and endurance and speeding recovery
52. Dr. John Wise, who is affiliated with the NAI laboratory, in web videos supports the
efficacy of CarnoSyn and beta~alanine by claiming that “virtually any athlete is going to be

benefitted by supplementing With beta~alanine.”

 

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53. Without requisite proof, DEFENDANTS also claim that lackB dis safe, effective, and
proven by research For the types of marketing claims at issuc, the Federal Trade Commission rules,_
minoring common law duties cf fair representation require that DEFENDANTS actually have the
level of proof claimed, here clinical proof, at the time the claims are made. However,
DEFENDANTS did not, and have never possessed the requisite proof .

54. The health problems associated With Jacchd manifest themselves When consumers,
including Piaintiff~Decedent as alleged herein, use the product at recommended dosage levels ln
fact, in a vvaming letter sent to USP, FDA expressed its opinion that Jaclc3d is adulterated under
§402(§(1)(!&_) of the Federal Food, Drug, and Cosmetic Act, 21 U.S.C. §342, inthat lack3d presents
a significant or unreasonable risk of illness or injury under conditions cf use recommended or
suggested in labeling:

. . . Oxy Elite Pro and Jaclc?)d are adulterated under 21 U.S,C. 342@(1)(13) and 350b(a)

because they contain a new dietary ingredient for Which there is inadequate information to
provide reasonable assurance that such ingredient does not present a significant or
unreasonable risk of iiiness or injury. l_utroduction of such products into interstate
commerce is prohibited under 21 U.S.C. 331(a) and (v). To the best ofFDA’s ltnowledge,
there is no history of use or other evidence of safety establishing that dimethylamylamine
Will reasonably be expected to be safe as a dietary ingredient In fact, dimethylamylamine
narrows the blood vessels and arteries, which increases cardiovascular resistance and
frequently leads to elevated blood pressure This rise in blood pressure may increase the
work of the heart such that it could precipitate a cardiovascular event, vvhich could range
from shortness of breath to tightening of the chest andi'or a possible myocardial infarction
(heart attacl{).

55. Notwithstanding significant and mounting evidence that Jaclc?>d is falsely labeled,
ineffective, and poses significant health risks, DEFENDANTS did not recail lacin d, Which remains
on the marl<,et. Despite the evidence of significant health risks, DEFENDANTS continued to make

 

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COMPLAINT son DAMAGEs AND DEMAND POR JURY TRLAL

 

 

 

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material misrepresentations and omissions on iackl‘)d packaging and labeling Moreover, as stated
hcrein, DEFENDANTS continue to downplay the true health ri sks involvedwith consuming lack?) d.

56. Remarlcably, USP has even filed suit in the Northern District ofTexas (Case 3 :lZ~cv~
01605-0) against an individual and entity for allegedly false and disparaging statements about
lackB d. The statements included well~l<nown, incontrovertible facts about lack?)d (which contains
DMAA) such as that it is an “amphetamine~like compound,” and that it “speeds up your heart rate.”
USP continues to not only make misrepresentations to the public about the nature of DMAA and
iack3d as alleged abcve, it so vehemently denies their sympathornimetic qualities that it is suing
individuals for defamation Making such action even more reprehensible is that USP’ s own funded
studies concede DMAA is a “simple aliphatic amine with sympathomimetic properties” (Whitchead,
PN, Schilling, BK, Farney, TM, Bloomer, RJ. impact of a dietary supplement containing 1,3-
dimethylamularnine on blood pressure and bloodborne markers of health: a lO»week intervention
study. Nuu~itfcn and Metabolz'c fnsights 2012:5 33~39.) as does the FDA warning letter sent to USP.
This lawsuit was brought in an attempt to intimidate and stifle the dissemination of essential safety

information about Jacl<?)d.

Studias Proraoted by USP Denionstrcte Lae!c cfSafety cr Ejicacyfor Jcck$d
l. Claims Regarding Safe§y

57. Defendants also claim that the safety and efficacy of Jacl<Bd has been shown in
clinical studies For example, at its usplabsdirect.com and dinaaresearch.com Websites, USP lists
seven studies involving DMAA and states: “NEWLY RELBASED, GROUNDBREAKING
RESEARCH STUDIES SHOW USPLABS’ DMAA SUPPLEMENTS ARE SAFE AND
EFFECTIVE”. However, none of these studies constitutes reliable scientific or clinical proof

5 8, Despite claims made by USP in its marketing and advertising as detailed above,
Jack3d is not scientifically tested cr proven to provide, and does not provide the advertised health
benefits of “increase[d] . . , fat breakdown and energy expenditure,” “reduced fat mass,” “Wcight

loss” and other similar benefits Accordingly, USP’s marketing claims that Jack3d is proven,

 

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COMPLA]'NT FOR DAMAGES AND DEMAND FOR JURY TRIAL

 

 

 

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including because it is “UNIVERSITY STUDIED,” “Scientifically Reviewed,” and
“PHAR.MACIST FORMULATED” are false, misleading and likely to deceive the ordinary
consumer.
59. Properly~conducted human studies do not demonstrate the safety or efficacy of the
Jaclc3d or DMAA. In fact, human data regarding the safety or efficacy of DMAA are few and are
the majority are funded by the USP Defendants.
60. Even Defendants’ own purported clinical proof demonstrates the falsity of its claims
On its websites, . usplabsdireet.corn (which is referred to on the lack3 d’s labeling) and
dmaaresearch.com, USP lists “severf7 studies on Dl\/IAA containing products USP characterizes
one study that had male and female cohorts as two studies in order to state “seven” Dl\flAA studies
substantiate its claims USP admits its involvement and funding cf live of the seven studies
Furthermore, none of these studies provide substantiation for the marketing claims
a. McCarthy, liar-ney et al. 2012: Twelve subjects ingested OXyELITE Pro or a
placebo over two days. USPLabs provided binding for the study, which
analyzed subjects’ blood markers and metabclic rates The authors
acknowledged that “little objective scientific evidence is available” on
DMAA, and that “sorne subjects reported feeling ‘jittery’, ‘on-edgc’,
‘sweaty’, and ‘shaky’, sometimes involving cold sweats, a racing heart beat,
and poor sleep quality on the night oftreatment." According to the authors,
and with respect to DMAA, “no published reports are available pertaining to
these [weight)'fat loss] effects in human subjects” (emphasis added). The
authors also noted that subjects consuming DMAA~containing OxyELlTE
Pro experienced increased heart rate and blood pressure The study
concluded that “well-controlled intervention trials are needed in order to
determine the chronic effects of the supplement on body weight/fat loss and
associated metabolic and biomechanical markets of healt .”
b. l\/lcCarthy, Canale et al. 201 21 Thjrty~two subjects ingested OxyELITE Pro
or a placebo over eight weeks The study was funded by USPLabs. Five of

 

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sixteen subjects who consumed OxyELlTE Pro reported jitters and
sleeplessness when consuming two capsules per day. The authors observed
an increase in resting heart rate for those consuming DMAA-eontaining
OxyELITE Pro and noted that the lack of control of subjects dietary intake
Was a limitation

Farney, l\/lcCarlhy et al. 2012: Once per day for two Weel<s seven men
ingested Jacl<B d, and six subjects ingested OxyELITE Pro. The study was
funded by USPLabs. The authors noted that the lach of a placebo is a
limitation cf this study. Because appetite was lower on subjects consuming
OxyELITE Prc, but not laclc3d, the authors observed that it was possible that
ingredients other than DMAA cr caffeine may be responsible for appetite
suppression According to the study, “Based on our data, which admittedly
involved a very small number of subjects it appears that such products
should be avoided by individuals who are hypersensitive [] or who are pre~
hypersensitive.” Subjects reported sleeplessness, anxiousness, feeling of
chills, tingling, sweating, and shal<iness.

Blcomer, Schilling et al. 20l2: Twenty-iive men were assignedto consume a
placebo or laclc§d. The study was funded by USPLabs. Systolic blood
pressure increased in those consuming Jacl<B d. The authors stated that “Due
to the fact that our sample size is small, additional well-designed experiments
of similar scope, inclusive of larger sample sizes, are needed to extend the
findings presented within.” The authors also noted that only “some support"
for safety was provided, and that “rnore work is needed involving a larger
intervention period and the inclusion of additional measures of health [], to
more fully elucidate the safety or oral [DMAA .”

Bloomer, Harvey et al. 2011; Ten men consumed five different amounts of
DMAA. No placebo was used, which the authors conceded was a limitation

to this study. The authors noted that no study had tested DMAA’s effect on

 

 

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heart rate and blood pressure in humans The study found that consuming
DMAA with caiifeine results in increased Systolic blood prcssu.re, diastolic
blood pressure, and rate pressure product Dr. Bloorner disclosed his
conflicts of interest with USPlabs and other nutritional supplement
companies

f. Bloomer, McCarthy et al. 2011: TWelve subjects ingested placebo, caffeine,
DMAA, or DMAA plus caffeine over four days and immediately prior to
competing a lOlc run. The authors noted that “[t]he literature pertaining to
the use of {DMAA] is scant.” The authors concluded that DMAA increases
systolic biood pressure, and had no impact on the outcome of greatest interest
~ run time

61. USP made lirrther misrepresentations on its website thattwo studies conducted by Dr.
Richa.rd Bloorner were conducted by an “independent scientist without the involvement oi" the
company,” these studies like the other five are all from the same laboratory at the University of
Memphis. Dr. Bio omer Was a lead researcher in each of the seven studies cited by USP. Moreover,
Bloomer, Harvey et al. 2011, which USP claims was conducted by an independent scientist,
concedes that the opposite is true by stating at the conclusion of the study “CONFLICT OF
lNTEREST STATEMENT ~ Richard .l. Bloomer, PhD discloses conflicts of interest with . . .
USPLabs.” On information and belief, Dr. Bloomer has received $524,332 in funding from
USPLabs: $132,860 (2010»2011), $225,600 (2011-2012), $128,860 (2012»2013), and $37,012
(2012~2013).

62. Bloorner, Harvey et al. 2011 further reported that both caffeine and DMAA increased
diastolic and systolic blood pressure separately (with the effect of DMAA being greater than
caffeine), and that when the two ingredients were combined the healthy study volunteers
experienced mean blood pressures ot" 140 mm Hg, a 20% increase consistent with hypertension
despite low normal pre-exposure pressures The data from Bloorner, Harvey et al, 2011 thus

demonstrates that DMAA given in the proprietary formulation as compared to alone has a less

 

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pharrnacolcgically clean effect and results in a greater increase in rate~pressure product (“R_PP,” a
measure of myocardial work or cardiovascular rislc).

63. USP further mischaracterizes the sympathomirnetic effects of DMAA, specifically
including the statistically significant increased blood pressure found by one study caused by 1ack3d,
by comparing the risk to mild amounts ofcoffee, a universally regarded safe sympathomirnetic when
used in isolation:

The hemodynamic response to acute ingestion was assessed as well. OxyElite Pro
did not result in a statistically significant change in heart rate or diastolic pressure,
but did cause a statistically significant change in systolic blood pressure from
baseline. This increase was mild and transient, and was similar to the changes
reported in the scientific literature for subjects ingesting an amount of caffeine
equivalent to 2-3 cups of coffee (emphasis added)

This statement with respect to acute ingestion is misleading given the study results
demonstrate that “Compared to pre~ingestion and in general, both supplements resulted in an
increase in SBP, DBP, and RPP from 5%~15%, with speak occurring at the 60 or 90 minute post-
ingestion time.” The study went on to highlight the acute cardiovascular rislcs:

As expected based on the phermacologic profiles of caffeine and of 1,3~
dimethylamylamine, acute intake of dietary supplements containing these agents
results in an increase in myocardial worlc. Specifically, SBP is increased significantly
in response to treatment, while DBP, and RPP increase to a lesser extent

64. The “sevcn” cited studies do not constitute substantiation for Defendants’ claims
relating to safety and efficacy, and in fact, are proof that hicde is unsafe and ineffective First,
there are no independent studies performed by researchers without conflicts: each of the studies
come from a single laboratory funded by USP, and are led by a researcher who has received over
$500,000 from USP. Second, the studies, which contain a total of 99 subjects, are grossly
underpowered (a fact repeatedly conceded in the reports themselves), restricted to a very young
population7 and there is no attempt to characterize the pharmacoldnetics or purity of the drugs

Despite the lacl; of reliability or validity of the purportedly independent studies, the studies present a

 

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relatively consistent picture DMAA, particularly when combined With caffeine or other agents,
causes highly significant increases in blood pressure inhealthy, resting individuals within one hour
of consumption in a manner consistent with its known action as a vascconstrictor. These sorts of
changes should be anticipated to cause substantial and possibly dangerous increases in blood
pressure during exercise (particularly weight lifting, cycling, or other resistance exercise).
Vasoccnstriction during exercise Wculd increase myocardial oxygen consumption leading to an
increased risk for cardiovascular events like heart attack and stroke In other words, the studies
themselves, flawed as they are, demonstrate the dangerous and synergistic sympathornirnetic effects
of the DMAA formulation contained in lackZd. ln fact, Defendants do not deny the synergistic
effects of DMAA and caffeine stating on their website “a common synergistic ccmbination.”

65, Thus, USP knew, or in the exercise of reasonable care ought to have known, from
their own studies that DMAA, when used in isolation or in conjunction With the other ingredients
contained in lack3d including caffeine and Cai~noSyn, is dangerous and could injure or kill
consumers like Plaintiff-Decedent. ln fact, USP knew or should have lmown long before its own
studies that DMAA could cause cardiovascular adverse effects based on the fact DMAA is in the
same class of chemicals as amphetamines

66 . In making these and similar representations in advertising and in the lacl<:fi d product
labeling, USP misled users and Plaintiff-Decedent about the risks of Jack3d. USP also failed to
adequately warn users ofthe potential serious dangers ofDMAA toxicity in susceptible users which
USP knew or should have known might result from consuming Jack3d. USP widely and
successfully marketed the products throughout the United States by, among other things, conducting
a marketing campaign Which misrepresented the testing for efilcacy and potential risks of the
products in order to induce widespread consumption

67. Likewise, GNC knew or should have known that DMAA could cause cardiovascular
adverse effects based on the fact DMAA is in the same class of chemicals as amphetamines

68; GNC joined in the misrepresentations about DMAA, by asserting in its marketing of
Jacde that GNC conducts a review and has a requirement that the products it sells have labels that

truthfully disclose health and safety issues and that the ingredients be safe. GNC represents that it

 

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exercises the highest standard of care in the nutritional supplement industry by “demanding truth in
labeling, ingredient safety.” Moreoyer, on information and beiiei", GNC considered, reviewed and
rejected the idea of selling its own propriety products containing DMAA With knowledge that
DMAA could injure consumers

Il. Claims Regarding Efiicacy and Comnosition

69. USP similarly knew, or in the exercise of reasonable care ought to have known, that
Jaclc3d is not effective for weight loss or any other health benefits claimed by USP.

70. USP additionally knew that consumers believe that natural supplements arc more
healthful and less dangerous than synthetic, chemically produced supplements USP represented in
its advertising and marketing that lacde is a natural dietary supplement, When in fact it knew that
the active ingredient DMAA, Was not a natural ingredient but Was a chemically compounded,
synthetic ingredient In fact, in a response letter to FDA on May 15 , 2012, it acknowledged DMAA
was synthetically created. USP further knew that DMAA is not contained in natural substances like
geraniuin oil. lt made these false representations that lack3d is a natural product to mislead and
falsely reassure consumers that .`lack3d is a safe product

71. FDA denied that DMAA is a natural as opposed to syntheticaliy-created compound:
“'l`he agency additionally Wained the companies that syndietically-produced DMAA is not a ‘dietaiy
ingredient’ and, therefore, is not eligible to be used as an active ingredient in a dietary supplement
DSHEA defines a dietary ingredient as a vitamin, mineral, amino acid, herb or other botanical, a
dietary substance for use by man to supplement the diet, or a concentrate, inetabolite, constituent,
extract, or combination of these substances.”

72. The purpose of these submission requirements for dietary supplements is to protect
consumers from exposure to new, synthetically created dietary supplements which are not
demonstrated to be safe and effective, the exact situation here.

73. USP attempted to assuage concerns from critics, FDA and concerned consumers
about the safety of DMAA by suggesting DMAA comes from a naturally occurring herb and is
therefore safe. However, DMAA is a dangerous synthetically~created chemical known by industry

insiders like USP to_display sympathomimetic side effects A single Chinese study claims that

 

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COMPLA]`NT FOR DAMAGBS AN'D DEMAND FOR JURY TRIAL

 

 

 

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DMAA occurs naturally in geranium oil (Ping Z, .`lun Q, and Qing L. A study on the chemical
constituents of geraniurn oil. lournal of Guizhou Institute of Technology 25: 1996.) The New
Zealand Natioual Measurement institute performed a rigorous evaluation of this claim and found it
impossible to substantiate (Lisi A, Hasick N, Kazlauskas R, and Goebel C, Studies of
methylhexanearnine in supplements and geranium oil. Drug Test Anal 2011.) Health Canada
likewise could find no evidence that DMAA occurs in nature (l-Iealth Canada, Health Products and
Food Branch. Classification of l,3»dimethylatnylamine (DMAA).
http://www.scribd.corn/doc/S2744576/DMAA-Health-Canada~ZOl l. Accessed March 22, 2012.)

74. Additionally, in a study published June 25, 2012 (ElSohly, MA, et al., Pe]argonium
oil and Methyl Hexaneamjne (Ml'lA)'. Analytical approaches supporting the absence of MHA in
authenticated Pelargoniuin graveolens plant material and oil. Journal of A.nalytic Toxicology:
published online: luna 25 , 2012), the authors ccncluded, after numerous and varied tests ofgeranium
oils and plants, that geranium oils and plants contain no detectable levels of DMAA. This research
refutes any claims that synthetic DMAA is identical to naturally derived ingredients ltis impossible
for synthetic DMAA to be identical to the natural geranium plant and oil since geranium plant and
oil do not contain detectable levels of DMAA.

75. Despite these facts, USPlabs has circulated a letter purporting to have proof from two
iaboratories claiming that DMAA can be found in geranium oil. The data are allegedly not available
for review because they have been submitted for publication USP persists in its representations that
DMAA is anatural chemical to reassure consumers that the product is safe and natural, when in fact
it is neither

Adverse Events From DBMA Pt'le Up and FDA Warns USP

76. On Decernber 6th, 2011, the US Anny removed all DMAA containing compounds
from its commissaries. This action followed the deaths of two soldiers believed to be due to Jacde,
including that of Plaintiff-Decedent. A case series from New Zealand reported three cases of
cerebral hernlo age in adults taking DMAA (Gee P, 'fallon C, Long N, Mo ore G, Boet R, lackson
S. Use of Reereational Drug l,B-Dimethylethylamine (Dl\/I_AA) Associated With Cerebral

l-lernorrhage.) ln one case, a 41 year old man developed a systolic blood pressure of 240 mrn fig

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COMPLAINT FOR DAMAGES AND DEMA`ND FOR JURY TRIAL

 

 

 

 

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thirty minutes after taking a DMAA supplement and bled into his brainl Another published report
attributes stress~induced cardiomyopathy to use ofDMAA (S alinger L, Daniels B, Sangalli B, Bayer
M. Reereational use of bodybuilding supplement resulting in severe cardiotoxicity, Clin Tcxicol.
201 1;49(6):573-574.) Pieter Coben, a Harvard internist, has recently drawn attention to DMAA in a
letter to the Archives oflnteinal_l\/.[edicine (C chen PA. DMAA as a Dietary Supplernent Ingredient,
Arch Intern Med. 2012 May 7 [Epub ahead ofprint].)

77. ln a letter addressed to USPLabs from FDA dated Apiil 27, 2012, the Agency Warned

that it had received 42 adverse event reports on products containing DMAA, including cardiac
disorders, nervous system disorders, and death. Many of those adverse event reports were
specitically for .laolc3d and stretch back to early 2010, if not earlier.

78. Daniel Fabricant, director of FDA’B Dietary Supplement Program (DSP) stated
“Bet`ore marketing products containing DMAA, manufacturers and distributors have a
responsibility under the law to provide evidence of the safety of their productsl They haven’t done
that and that makes the products adulterated.” PDA challenged manufacturers to demonstrate that
DMAA Was in use as a dietary supplement prior to 1994.

79. USP attempted to detlect attention away i`rorn safety concerns and to misrepresent the
actual risks of DMAA by stating numerous times on its Website that “no serious adverse events
Were noted in the study.” USP neglected to inform consumers and the public, including Plaintiff-
Decedent herein vvho relied on USP’s representations and misleading comments, that in fact FDA
had received dozens of serious adverse events from peopie taking DMAA, including death.

COUNT I
NEGLIGENCE
(Against All Defendants)
8 D. Plaintitfs incorporate by reference each and every prior paragraph of this Complaint

as though set forth in full in this cause of action.

 

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81. A_t all times herein mentioned, DEFENDANTS, and each of them, had a duty to
exercise reasonable care in the research, development testing for safety, forrrnllationp manufacture,
hiring of and use of qualified scientific or medical personnel, labeling packaging, promotion
advertising marketing distribution, sale, and otherwise releasing into the stream of commerce
lacch d.

82. DEFENDANTS, and each of them, breached their duty of reasonable care to
Plaintifl`s in that they negligently designed, developed manufactured tested, inspected, packaged
promoted, marketed, distributed, labeled and/or sold .Tacl<B d. Speciiically, DEFENDANTS failed to
exercise reasonable care in ways which included, but Were not limited to, one or more of the
following particulars:

a. ln their failure to Wam or instruct and/or adequately warn or adequately instruct the

public and consumers, including Plaintiff-Decedent herein, of the dangerous and defective

characteristics of Jacde;

b. ln their failure to warn or instruct and/or adequately warn or adequately instruct the

public and consumers, including Plaintiff~l)ecedent herein, of the propensity of lacl<3d to

cause side effects, serious injury and death;

c. ln their failure to adequately represent the result of clinical trials before marketing
laclc';id‘,
d. ln representing that lacerd was safe and effective for its intended use when, in fact,

the product was unsafe for its intended use',

e. in failing to perform appropriate, reliable and valid pre-market testing of Jacde;
f. ln failing to perform appropriate post-market testing of iacchd;
g. in failing to disclose to consumers and Plaintiff-Decedent adverse events received

from FDA by users of DMAA; and

h. ln failing to perform appropriate post-market surveillance of lacchd.

83. DEFENDANTS, and each ofthcrn, knew or should have known that consumers, such
as Plaintiffs herein, Would foreseeany suffer injury as a result of the DEFENDANTS’ failure to

exercise reasonable and ordinary care.

 

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COMPLAINT FOR DAMAGES AND DEMAND FOR IURY 'I`RIAL

 

 

 

 

 

 

84. As a direct and proximate result ofDEFENDANTS’ carelessness and negligence, and
of the unreasonably dangerous and defective characteristics of lacch d, Plaintiffs suffered severe and
permanent injuries Plaintiff»Decedent endured substantial conscious pain and suffering both
physical and emotional in nature. Plaintiff~Decedent incurred significant expenses for medical care
and treatment, suffered lost wages and eamings, and were otherwise physically, emotionally, and
economically injured Plaintiff~Decedent suffered severe pecuniary loss. Plaintiffs also suffered
unique injuries as alleged herein. The injuries and damages alleged herein are permanent and will
continue into the fature.

COUNT II
STRICT PRODUCTS LIABILITY - DESIGN DEFECT
(Agaiust All DEFENDANTS)

85. Plaintiffs incorporate by reference each and every prior paragraph of this Complaint

as though set forth in full in this cause of action

86, At all times material to this action, the DEFENDANTS, and each of them, were
responsible for designing developing manufacturing testing, packaging promoting marlceting,
distributing labeling, and/or selling, directly and indirectly, through third parties or related entities
the dietary supplement lack?)d, which is defective and unreasonably dangerous to users and/or
consumers of the drug, including Plaintiff-Decedent.

87. At all times material to this action, lincde was designed, developcd, manufactured
tested, pacl{agcd, promoted, marlceted, distributed, labeled, and/or sold by the respective
DEFENDANTS in a defective and mueasonably dangerous condition in ways which included, but
were not limited to, one or more of the following particulars:

a. When placed in the stream of commerce, the drug contained unreasonably dangerous

design defects and Was not reasonably safe and tit for its intended or reasonably
foreseeable purpose or as intended to be used, thereby subjecting users and/or

consumers of the drug, including Plaintiff-Decedent, to risks which exceeded the

benefits of the drug;

 

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b. The drug did not perform as safely as an ordinary consumer Would have expected it

to perform thn used in an intended or reasonably foreseeable Way;

h. The drug Was insufficiently tested;

c. The drug caused harmful side effects that outweighed any potential utility;

d. The drug was more dangerous than other dietary supplements on the market; and

e. ‘ The drug Was not accompanied by adequate labeling or instructions for use to fully

apprise the public and consumers, including Piaintift`-Decedent, of the potential risks and

serious side effects associated With its use.

88. In light cf the potential and actual risk of harm associated with the drug’s use, a
reasonable person Who had actual knowledge of this potential risk of harm Would have concluded
.lack3d should not have been marketed in that condition

89. There existed safer alternative designs, but DEFBNDANTS, and each ofthem, chose
to market a more dangerous design

90. At all times relevant herein, DEFENDANTS, and each of them knew that llande
Would be purchased by members of the general public and Would he used by such purchasers
Without a prescription and without any inspections for defects, and Would rely upon the
representations made by each ofthe DEFENDANTS on the product label and in other promotional
and sales materials

91. At all times material to this action, Jacde was expected to reach, and did rcach,
consumers in the State of Califomia and throughout the United States, including Plaintiff~Decedent,
Witliout substantial change in the condition in Which it Was sold

92. DEFENDANTS, and each of them, knew or should have known of the defective
nature of iacl<Bd but continued to research, develop, design, test, manufacture, paclcage, formulate,
inspect, label, distribute, market, promote, sell and otherwise release these products into the stream
of commerce so as to maximize sales and proiits at the expense of the public health and safety, in
conscious disregard of the foreseeable harm caused by their products, including serious
cardiovascular disorders, strolcc, heart attack, dizziness, loss of consciousness, death, and other

health problems

 

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COMPLAINT FOR DAMAGES AND DEMA.ND FOR J`URY TRJ.AL

 

 

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93. At all times, Plaintiff-Decedent used latide for its intended or reasonably foreseeable
purpose

94. As a direct and proximate result of the defective and unreasonably dangerous
condition of Jack$ d and of its failure to perform safely, Plaintiffs suffered injuries as set forth above

COUNT HI
STRICT PRODUCTS LIABILITY - FAILURE TO WARN
(Against AlI DEFEN])ANTS)

95. Plaintiffs incorporate by reference each and every prior paragraph of this Complaint
as though set forth in full in this cause of action.

96. At all times material to this action, the DEFENDANTS were responsible for
designing, developing, manufacturing testing, packaging, promoting, marketing, distributing
labeling, and/or seiling, directly and indirectly, through third parties or related entities the dietary
supplement Jack3d, which is defective and unreasonably dangerous to users and/or consumers of the
drug inducing sniaaa_oecea@ni.

97. At all times material to this action, laclch was designed, developed, manufactured
tested, packaged, promoted, marketcd, distributed labeled, and/or sold by the respective
DEFENDANTS in a defective and unreasonably dangerous condition in ways Which included, but
were not limited to, one or more of the following particulars:

a. it contained warnings insufficient to alert consumers, including Plaintiffr]:)ecedent

herein, of the dangerous risks and reactions associated With .lack?) d, and the comparative

severity, duration and the extent of the risks and reactions;

b. it contained warnings insufficient to alert consumers, including

Plaintitf-Decedent herein, of the propensity to cause a substantial increased risk of serious

bodily harm;

c_ it contained warnings insufficient to alert consumers, including Plaintiff-Decedent

herein1 of the dangerous drug-drug interactions and food-drug interactions; and

d. The warnings that were given by the DEFENDANTS Were not accurate, clear, and/or

were ambiguous

 

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98. Plaintiff~l)ecedent could not have discovered any defect in Jaclt?)d through the
exercise of reasonable carc.

99. The DEFBNDANTS, as manufacturers, sellers and/or distributors ofJacl<3 d, are held
to the level of knowledge of an expert in the iield.

l O(}. Plaintift`-Decedent reasonably relied on the skill, superior knowledge, and judgment
of the DEFENDANTS.

lOi. The DEFENDANTS had a continuing duty to Warn the Plaintiff~l)ecedent of the
dangers associated with the use of lacch d.

102, Plaintiff~Dccedent consumed and used Jacchd for its intended purpose as a dietary
Worl<out supplement

103. Had Plaintifi`~Decedent received adequate Wal‘nings regarding the risks of lacl<Sd,
Plaintiff-Decedent Would not have used it.

104. As a direct and proximate result of the defective and inappropriate Warnings and the
unreasonably dangerous and defective characteristics of Jack3d, Plaintiffs suffered injuries as set
forth above

COUNT IV
BREACI-I OF EXPRESS WARRANTY
(Against USP DEFENDANTS and DOES 1~500)

105. Plaintiffs incorporate by reference each and every prior paragraph of this Complaint

as though set forth in full in this cause of action

106. At all times, USP expressly Warranted that latede Was safe, effective and tit for use
by consumers and users, including Plaintiff-Decedent, for its intended use, that it Was of
merchantable quality, that it did not produce dangerous side effects, that it was made from natural
ingredients (i.e. geranium), and that it Was adequately tested and tit for its intended purpose
Speciiicaliy, in reference to research fimded by USP, USP represented on its Website and through its
advertising that

a, “The hemodynamic response to acute ingestion Was assessed as Well. OxyElite Pro did

 

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CGMPLAINT FOR DAMAGES AND DEMAND FOR ]URY TRIAL

 

 

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not result in a statisticaliy significant change in heart rate or diastolic pressure, but did
cause a statistically significant change in systolic blood pressure from baseline. This
increase was mild and transient, and was similar tc the changes reported in the scientific
literanire for subjects ingesting an amount of caffeine equivalent to 2-3 cups of coffee,”
“Jack3 d, which contains DMAA, was well tolerated and no serious adverse events
Were noted.”
“At the beginning and end of the study, blood pressure, heart rate and various
indicators of renal and liver function Were assessed The study found that there Were
no statistically significant changes from baseline to the end of the study. No serious
adverse events Were noted."
“NEWLY RELEASED, GROUNDBREAKING RESEARCH STUDIES SHOW

USPLABS’ DMAA SUPPLEMENTS ARE SAFE AND EFFECTIVE.”

107. At the time cf making these and other Wal'ranties With respect to the safety, efficacy,

testing and characteristics of lacl<fid, USP knew or should have known that despite the above and

other warranties alleged herein:

EL.

In fact, the studies cited found statistically increased blood pressure, myocardial work
and RPP;

That participants in the studies did experience adverse cardiovascular effects from use
cf products even if not serious;
USP’s studies, given their underpcvvered size, did not and could not prove that Jaclc3d
does not result in serious adverse events;

USP’ s claims of safety and efficacy were not supported by researchers at the University
of Mernphis even though said researchers Were financially interested and biased
researchers;

larcde contained DMAA, which was synthetically derived, and not natural;

 

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COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TR.TAL

 

 

 

f. that geraniuin plants and oil do not contain detectable amounts ofDI\/IAA and therefore
synthetic DMAA cannot be equivalent to geraniurn; and that

g. Since USP knew FDA had received 42 serious adverse events from DMAA prcducts,

lacch d containing DMAA was unsafe

108. At the time of making these warranties and other similar warranties, USP knew or
should have known that, in fact, even apart from the result of USP funded studies the representations
and warranties were false, misleading and untrue in that lincde was not safe, effective and fit for
use by consumers and users, including Plaintiff-Decedent, for its intended use, that it Was not of
merchantable quality; that it did'prcduce dangerous side effects, and that it was not adetjuately tested
or fit for its intended purpose

109. Plaintiff-Decedent reasonably relied upon the skill and judgment ofUSP, and upon
said express warranties in using Jacchd. As aresult, Plaintiff-Decedent used Jacde for its intended
purpose

110, USP breached said express warranties, in that, lack$d was not safe, effective and fit
for its intended purposc, were not of merchantable quality, and, in fact, caused serious and
potentially lethal side effects to consumers when taken in its recommended dose.

11 1. Due to USP ’ s wrongful conduct as alleged herein, Plaintiff~l)ecedent couldnct have
known about the nature cf the risks and side effects associated with lack3d until after he used it.

112. As a direct and proximate result of the USP’s breach of express warranties and the
unreasonably dangerous and defective characteristics of lackfi d, Plaintiffs suffered injuries as set
forth above

COUNT V
B§REACH OF EXPRESS WARRANTY
(Against NAI and DOES 1-500)

1 13. Plaintiffs incorporate by reference each and every prior paragraph of this Complaint

as though set forth in full in this cause of action.

 

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COl\/l`PLAH\lT FOR DAMAGES AND DEMAND FOR JURY TRIAL

 

 

 

 

 

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114. At all times, NAI expressly warranted that Carno Syn was safe, effective and tit for
use by consumers and users, including Plaintiff~Decedent, for its intended use, that it was of
merchantable quality, that it did not produce dangerous side effects, and that it was adequately
tested and fit for its intended purpose Specifically, NAI represented on its website and through its

advertising that:

 

a. in nearly every athletic endeavor, from bodybuilding and cycling to running and
swimming numerous clinical studies have proven Beta-Alanine is effective in
bocsting muscle camosine, buffering lactic acid, increasing strength and
endurance and speeding recovery; and

b. virtually any athlete is going to be benefitted by supplementing with beta~alanine.

115. At the time cf making these warranties, NAI knew or should have known that the
representations and warranties were false, misleading, and untrue in that despite the warranties,
CamoSyn and beta-alanine are not safe and not effective

116. Plaintiff~Decedent reasonably relied upon the skill and judgment ofNAl, and upon
said express warranties in purchasing Jackfid containing CanioSyn/beta~alanine.
117, Plaintiff~Decedent used Jacde and CamoSyn for their intended purpose

1 18. NAI breached said express warranties, in that, CarnoSynfb eta-alanine was not safe,

effective and tit for its intended purpose, was not of merchantable quality, and, in fact, caused

 

 

serious and potentially lethal side effects to consumers when taken in its recommended dose.
119. Due to NAI’s wrongful conduct as alleged herein, Plaintiff-Decedent could not
have known about the nature of the risks and side effects associated with CamcSyn/beta~alanine
untii after he used it.
120. As a direct and proximate result ofthe NAI’s breach of express warranties and the

unreasonably dangerous and defective characteristics of Jack§ d, Plaintiffs suffered injuries as set

forth above.

 

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COMI’LAINT FOR DAMAGES AND DEMAND FOR JURY TRLAL

 

 

 

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COUNT VI
BREACH OF IMPLIED WARRAN'I`Y
(Against All DEFENDANTS)

121 . Plaintiffs incorporate by reference each and every prior paragraph of this Coniplaint
as though set forth in full in this cause of action

122. At all tilnes, DEFENDANTS impliedly Warranted that fiscde was safe, effective and
fit for use by consumers and users`, including Plaintiff-D ecedent, for its intended use, that it was of
merchantable quality, that it did not produce dangerous side effects, and that itwas adequately tested
and fit for its intended purpose

123. At the time of making these Warranties, DEFENDANTS kneon should have known
that, in factJ the representations and warranties were false, misleading and untrue in that Jac1<3d was
not safe, effective and tit for use by consumers and uscrs, including Plaintiff-Decedent, for its
intended use, that it was not of merchantable quality, that it did produce dangerous side effects, and
that it was not adequately tested or fit for its intended purpose

124. Members ofthe public, including Plaintiff~Decedent, reasonably relied upon the skill
and judgment of DEFENDANTS and upon said implied warranties in using laclc3 d. As a rcsult,
Plaintiff~Decedent used lack3d for its intended purpose

125. DEFENDANTS breached said implied warranties, in that, Jack3d was not safe,
effective and fit for its intended purpose, was not of merchantable quality, and, in fact, caused
serious and potentially lethal side effects to consumers When taken in its recommended dose.

126. Duc to DEFENDANTS’s wrongful conduct as alleged herein, Plaintiff~Decedent
could not have known about the nature of the risks and side effects associated with Jack3 d until after
he used it.

127. As a direct and proximate result ofthe DEFENDANTS ’ breach of implied warranties
and the unreasonably dangerous and defective characteristics of facch d, Plaintiffs suffered injuries

as set forth above.

 

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COMPLA]N'l` FOR DAMAGES AND DEMAND FOR IURY TRIAL

 

 

 

 

 

COUNT VII
UNLAWFUL BUSINESS AC'I`S AND PRACTICES IN VIOLATION GF
CALIFORNIA BUSINESS AND PROFESSIONS CODE §17200 ET SEQ.
(Agaiust USP DEFENDANTS and DOES 1-500)

128. Plaintiffs incorporate by reference each and every prior paragraph of this Ccrnplaint
as though set forth in full in this cause of action.

129. Calii`ornia Business and Proi`essions Code §l7200 prohibits any “unfair, deceptive,
untrue or misleading advertising.” For the reasons discussed above, USP has engaged in urrt`air,
deceptive, untnle and misleading advertising in violation cf Califomia Business and Professions
Code §17200, specifically including but not limited to mischaracterizi.ug research conducted on
Dl\/IAA and USP products and promoting lincde as safe and effective, When intact lacchd is neither

safe nor effective

130. Calii`cinia aniness and Professions Code §17200 also prohibits any “milawful .
business act or practice.” USP has violated §172{)0’5 prohibition against engaging in unlawful acts
and practices by, inter alia, making the representations and omissions of material facts, as set forth
more fully herein, and violating Califcrnia Civii Ccde §§l572, 1573, 17 09, 1710, 1770, California
Business and Professions Code §17200 et seq., Califon;)ia Health and Safety Code §§110660,
110760, 110765, the DSHEA (Pub. L. No. 103-417, 108 Stat. 4325 (1994)), 21 U.S.C. §343, 21
U,S`C, §379aa-l, 15 U.S.C. §45(£~1)(1), 49 Fed. Reg. 30999 (Aug. 2, 1984), Pederal Food, Drug and
Cosrnetic Act §402(H(l}(A) (21 U.S.C. §342), and the common laW.

131. Plaintiffs reserve the right to allege other violations of law which constitute other
unlawful business acts cr practices Such conduct is ongoing and continues to this date.

132. California aniness and Prot`essions Code §17200 also prohibits any “unfair . . .
business act or practice,”

133. USP’s acts, olnissions, misrepresentations practices and non~disclosures as alleged
herein also constitute “unfair” business acts and practices within the meaning ofCalifornia Business
and Professions Code §17200 et seq. in that their conduct is substantially injurious to consurners,
offends public policy, and is immoral, unethical, oppressive and unscrupulous as the gravity of the

conduct outweighs any alleged benefits attributable to such conduct

 

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134. As stated in this Complaint, Pla:intii`fs allege violations cf consumer prctection, unfair
competition and truth-in-advertising laws in California and other states resulting in harm to
consumers Plaintiffs assert violation of the public policy against engaging in false and misleading
advertising unfair competition and deceptive conduct towards consumers This conduct constitutes
violations of the unfair prong of California Busiuess and Professions Code §17200 et seq.

135. There Were reasonably available alternatives to further USP’s legitimate business
interests other than the conduct described herein

136. California Business and Professicns Code §1'1"200 also prohibits any “fraudulent
business act or practice.”

137. USP’s claims, nondisclosures and misleading statementsa as more fully set forth
above, Were false, misleading and/or likely to deceive the consuming public Within the meaning of
Caiifornia Business and Professions Code §172[}0.

13 8. USP’s conduct caused and continues to cause substantial injuryto Piaintiff-Decedent
and other consumers Plaintiffs have suffered injury as a result of USP’s unfair conduct

139. USP has thus engaged in unlawful, unfair and fraudulent business acts and practices
and false advertising entitling Plaintiffs to judgment and equitable relief against Defendant, as set
forth in the Prayer for Relief.

140. Additionally, pursuant to California Business and Professions Code §17203,
Piaintiffs seek an order requiring Defendants to immedi ater cease such acts ofunlawful, unfair and
fraudulent business practices, and requiring USP to engage in a corrective advertising campaign,
including notification of Jacl<Bd’S health risks

COUNT VIII
Punitive Damages Allegations
(Against USP)

141 . Plaintiffs incorporate by reference each and every prior paragraph of this Complaint

as though set forth in full in this cause of action.
142. At all times material hereto, the USP Defendants knew or shouldhave lmoWIl that the

use ofIacl<Bd could result in the development of serious harm and death, vvere ineffective and were

 

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COMPLAlNT .FOR DAMAGES A`ND DEMAND FOR IURY TR_IAL

 

 

 

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not made from natural ingredients Adclitionaily, USP Defendants knew or should have known that
the use ofJack3 d would cause certain susceptible users to suffer serious injury and death, including
Plaintiff~Decedent.

143. At all times material hereto, the USP Defendants engaged in conduct that constitutes
malice, oppression or fraud, including without limitation the misrepresentations, warranties and
omissions set forth above.

144. USP Defendants attempted to misrepresent and did misrepresent facts concerning the
safety, efficacy and composition of laclc3d.

145 . USP’s misrepresentations included knowingly withholding material information from
consumers and the publicl including Plaintiff-Decedent, concerning the safety, efficacy and
composition of Jack3 d.

146. USP’s acts of oppression, fraud or malice were on the part of corporate officers,
directors or managing agents, or were on the part of employees and were ratified or authorized by
USP.

1471 USP Defendants continued to aggressively market lacchd to consumers, including
Plaintiff-D ecedent, without disclosing the fact that use of.`laclc?)d could result in the development of
serious injuries, that it was ineffective and that it was not made from natural ingredients

148. USP knew its advertising and representations were false and misleading and omitted
material information but continued to design, develop, manufacnire, ma.rlcet, distribute, and sell
leacde so as to maximize sales and profits

149. USP Defendants intentionally concealed and/or recldessiy failed to disclose to the
public and Plaintiff-Decedent the potentially life threatening side effects of taking hcde in order to
ensure continued and increased sales

150. USP Defendants also downplayed, understated andfor disregarded their knowledge of
the serious and permanent side effects associated with the use of Jacl<3 d, that lacch d was ineffective
and that flacde was not natural, despite available information demonstrating Jaolc?ld was unsafe,

ineffective and synmctically~created.

 

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COMPLAINT FOR DAMAGES AND DEM.AND FOR IURY TRIAL

 

 

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151. USP’s intentional and/or reckless failure to disclose.inforrnation deprived Plaintiff~
Decedent of necessary information to enable Plaintift`-Decedent to weigh the true risks of lacchd
against the benefits in making his decision to use Jack3 d.

152. As a direct andproxiinate result ofthe USP’s conscious and deliberate disregard for
the rights and safety of consumers, Plaintiff~Decedent suffered severe injury, loss and death
Plaintift`s likewise suffered loss as alleged herein Plaintiffs seek actual and punitive damages from
USP as alleged herein.

153. The aforesaid conduct of the USP Defendants was committed with knowing,
conscious, and deliberate disregard for the rights and safety of consumers, including Plaintiffs
herein, thereby entitling Plaintiffs to punitive damages in an amount appropriate to punish USP and
deter them from similar conduct in the future

COU`NT IX
WRONGFUL DEATI-I
(Against All Defendants)

154. Plaintiffs hereby incorporate by reference, as if fully set forth herein, each and every
allegation set forth in the preceding paragraphs and further allege as follows:

155 . As a direct and proximate result of Defendants’ Wrongf`ul conduct causing the
death of Plaintiff-Decedent MICHAEL L SPABLING, Plaintiffs LEANNE SPARLING and
MICAEL l SPARLING suffered the loss of consortium, including the loss of love, service,
society, comfort, affection, moral suppo`rt, oompanionship, and support of the Plaintiff`-Decedent.

156. As a direct and proximate result of Defendants’ wrongful conduct as herein
alleged and of the death of Plaintiff-Decedent MICHAEL L SPAR_LING, Plaintiffs LEANNE
SPA.RLING and MICAEL l SPAR_LING incurred the cost of burial and funeral expenses and
will lose any future financial suppol't, gifts, benefits and value from household services that

Plaintiff-Decedent would have provided

PRAYER FOR REL[EF
W'HER_EFORE, Plaintii"fs pray for judgment as follows:

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COMPLAINT FOR DAMAGES AND DBMAND FOR J'URY TRIAL

 

 

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a. As to all Counts and all DEFENDANTS, damages to the Plaintiffs in their own light
and as successors in interest according to proof including as applicable:
i. l\/ledical and care expenses of Plaintiff-Decedent according to proof;
ii. Burial and funeral expenses, according to proof; _
iii. Loss of earnings (andfor profits) of Plaintiff-Decedent according to proof;
iv. Loss of future financial support, gifts, benefits and value from household
services that Plaintiff~Decedent would have provided;
v. Other economic loss `
b. As to all Counts and all DEFENDANTS, damages to the Plaintiffs for loss of
consortium, including the loss of love, service, society,' comfort7 and companionship of
Plaintiff-Decedent by the Plaintit`fs according to proof;
c. As to all Counts and all DEFENDANTS, Awarding pre-judgment and postjudgment
interest to the Plaintift`-Decedent according to proof;
d. As to all Counts and all DEFENDANTS, Awarding reasonable costs to the Plaintiffs
as provided by law;
e. As to Count Vll and USP, Awarding declaratory and injunctive relief as permitted by
law or equity, including enjoining Defendants from continuing the unlawful practices as set
forth herein; _
f. As to Count VlI and USP, Ordcring Defendants to engage in a corrective advertising
carnpaign‘,
g. As to Connts V and Vll and USP, Awarding Plaintiffs punitive and treble damages;
and
b. As to all Counts and all DEFENDANTS, Granting all such other relief as the Court

deems necessaiy, just and proper

 

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JURY DEMAND

Plaintiffs demand a trial by jury on all issues so triable

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Attomeys for Plaintiff _

 

 

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COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL

 

 

 

 

 

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SUPER!OR COURT OF CAL|FORNIA, COUNT¥ OF SAN DIEGO

ALTERNATIVE DISPUTE RESOLUT|ON (ADR) |NFORN|ATION

 

CASE NUiviBER: 37»2013~00034663~CU~PL~CTL CASE TlTLE:
Spcrllng vs. Usplabs LLC

NOT|CE: A|l plaintil"fsicros'c-ccmplalnants in a general civil case are required to serve a copy cf the following
three forms on each defcndanticrcss-defendant, together with the complainticross~ complaint
(1) this Alternativc Dfsputc Resolution (ADR) information form (SDSC form #C|V-730),
(2) the Stipulatlon to Use Alternative Dispute Rcscluticn (ADR) form (SDSC form #ClV-359},a gg_c_i
(3) the Notice of Casc Asslgnrnent form (SDSC form #CtV-?Zd)

lvlocl civil disputes are resolved without filing a lawsult. and most civil lawsuits are resolved without a trial. The ccurts,
community crgcnizaticns. and private providers offer a variety of Altematlve Disputc Rcscluticn (ADR) processes to help
people resolve disputes without a trla|. The San chgc Supericr Ccurt expects that litigants will utilize some form cf ADR
as a mechanism for case settlement before trial, and it may be beneficial to dc this early in thc cacc.

Below is some information about the potential advantages and disadvantages of ADR, the most common types cf ADR.
and how to find a local ADR program cr neutra|. A form for agreeing to use ADR is attached (SDSC form #ClV-359).

Potentlal Advantagcs and Dlsadvantaqcs of ADR

ADR may have a variety of advantages cr disadvantages over a trlc|, depending cn the type cf ADR process used rand the
particular cccc:

Potentlal Advantages Potential Dlsadvantages

- ches time - Ivlay take more time and money if ADR does not

' Saves money resolve thc dispute

- leec parties more control over the dispute - F’rcccdures tc learn about the other clde’c case (disccvcry),
resolution process and outcome jury tria|, cppec|, and other court protections may be limited

- F’recervcs or improves relationships cr unavailable

Most Ccmmon Types cf ADR
Ycu can read more information about these ADR processes al‘ld watch videos that demonstrate them on the court’c ADR
wcbpcgc at h:ttp ilwww. cdcourt. cc. gcviadr.

Medlaticn: A neutral person called a "rncdlatcr" helps thc parties communicate in an effective and constructive manner
co they can try to sctttc their disputc. The mediator does not decide thc cutscme, but helps thc parties to dc cc.
Nlcdiaticn ic usually ccnhdentla|, and may be particularly useful when parties want cr need to have an ongoing
rciatlcnchip, such as in disputes between family members, neighbors, cc-wcrlcers, cr business partners, or when parties
want tc discuss non-legal concerns cr creative resolutions that could not be ordered at a trial.

Setttement Conference: A judge cr another neutral person called a "sett|erncnt offlccr" helps the parties tc understand
the ctrengths and weaknesses of their case and to discuss settlement Thejudgc or settlement officer does not make a
decision in thc case but helps the parties tc negotiate a settlement Sctl|emcnt conferences may bc particularly helpful

When thc parties have very different ideas about the likely outcome of a trial and would like an experienced neutral tc help
guide them toward c resolution

Arbitraticn: A neutral person called an "arbitratcr" conciderc arguments and evidence presented by each cidc and then
decides thc outcome cf the dlcputc. Arbltraticn ls less formal than a trial, and the rules of evidence arc usually relaxed |f
thc parties agree tc binding arbitrationl they waive their right tc a trial and agree to accept the arbitrator's decision as flnal.
With nonbinding arbitration any party may reject the crbltratol‘c decision and request a tria|. Arbitratlcn may be
appropriate thn the parties want another person to decide the outcome cf thclr dispute but vvculcl like to avold the
fcrmcllly, time, and expense of a trial.

 

spcc clv»rao rRav 12-1u} ALTERNAT|VE DlSPUTE RESOLUT|ON (ADR} lNFORMATION

Fuge: 1

 

 

 

Otner ADR Processes: There are several other types of ADR which are not offered through the court but which may be
obtained privately, including neutral evaluation, conciliation, factfinding mini~triais, and summary jury tria|s. Sometlmes
parties will try a combination of ADR processes The important thing is to try to find the type or types of ADR that are
most likely to resolve your dispute. Be sure to learn about the rules of any ADR program and the qualifications of any
neutral you are considering, and about their fees.

Locai ADR Prog[ams for Clvll Cases

lillediation: The San Diego Superior Court maintains a Clvll lVledlalion F’anel of approved mediators who have met

certain minimum qualifications and have agreed to charge $150 per hour for each of the first two (2) hours of mediation
and their regular hourly rate thereafter |n court-referred mediations.

On~llne mediator search and selection: Go to the court's ADR webpage at www.sdcourt.ca.gov)'ad[ and click on the
"lVledlator Search" to review individual mediator profiles containing detailed information about each mediator including
their dispute resolution training, relevant experiencel ADR specialty, education and employment history, mediation styie,
and fees and to submit an on-|lne ivledlator Selection Form (SDSC form #CIV~DOB). The Givi| lv‘lediation Panel List, the
Avaiiabie l\/lediator List, individual lviediator Proli|es, and ivlediator Seiectlon Form (ClV-DOB) can also be printed from the
court's ADR webpage and are available at the ll/lediation Program Otflce or Clvll Buslness Ofilce at each court |ocatlon.

Settiement Conference: The judge may order your case to a mandatory settlement cr.)nferencel or voluntary settlement
conferences may be requested from the court if the parties cedify that: (i) settlement negotiations between the parties
have been pursued, demands and offers have been tendered in good faith, and resolution has failed; (2) a judicially
supervised settlement conference presents a substantial opportunity for settlement and {3) the case has developed to a
point where all parties are legally and factually prepared to present the issues for settlement consideration and further
discovery for settlement purposes is not required. Refer to SDSC Locai Rule 2.2.'1 for more lnfom'iation. To schedule a
settlement conference, contact the department to which your case is assigned.

 

Arbitration: The San Diego Superlor Court maintains a panel of approved judicial arbitrators who have practiced law for
a minimum ot live years and who have a certain amount of trial andfor arbitration experience Refer to SDSC Locai

Rules Dlvision il1 Chagter iii and Code Civ, Proc. § 1141.10 et seg or contact the Arbitration Program Ofiice at (619)
450-7300 for more information

lvlore information about court-connected ADR: Vlslt the courts ADR webpage at www.sdcourt.ca.gov/adr or contact the
court‘s i\iisdiationiArbitrailon Office at (6'|9) 450-7300.

Dispute Reso|ution Programs Act (DRPA) funded ADR Programs: The following community dispute resolution
programs are funded under DRPA (Bus. and Prof. Code §§ 465 et sec.):
* in Centrai, East, and South San Diego County, contact the Nat|onai Confilct Resolution Center (NGRC) at
Miine.com or (619) 238-2400.
- in Norih San Dlego County, contact l\lorth County i_lfeline, lnc. at www.nclife|ine.org or (760) ?26~4900,

Private ADR: To lind a private ADR program or neutral, search the lnternet, your local telephone or business directory,
or legal newspaper for dispute resolution, mediation, settlementr or arbitration services

Legal Regresentation and Advice

To participate effectively in ADR, it is generally important to understand your legal rights and responsibilities and the
likely outcomes if you went to tria|. ADR neutrals are not allowed to represent or to give legal advice to the participants in
the ADR processl if you do not already have an attorney, the Callfornia State Bar or your local County Bar Assoclation
can assist you in finding an attorney. information about obtaining free and low cost legal assistance is also available on
the California courts website at MMMQMM.

 

 

SDSC “""'73°(“°"*2'1°3 l ALTERNATIVE DlSPUTE RESOLUT|ON (ADR) lNFORMAT|ON

F'ugo: 2

 

 

SUPER|OR CDURT OF CAL|FC|HN|A, COUNTY OF SAN DlEGO FOR COURT USE ONLY

sTnEET nooREss: 330 West Broedwey

minus Auoness: 330 West Broadwey
cln',srr\"re, a zip uoee: Ssn Diego, CA 92101-3827
emmett NAME: Centrai

 

Pt_AiNTtFF(S): Leenne Sperting et.al.

 

DEFENDANT(S): Usptel)s L.LC et,el.

 

SHORT TlTLE! SPARLING VS. USPLF\BS LLC

 

 

 

 

 

sTlPuL.ATloN To use ALTERNATNE CABE NUMBER=
D|SPUTE RESOLUTION (ADR) 37“2013~00034663~CU'PL~CTL
Judge: Ftichard E. L. Strauss Depertment: C-?S

The parties end their attorneys stipulate that the matter le et lssue end the claims in th|s sutton shall be eubrnitted to the following
alternative dispute resolution (ADR) precess, Selectlon of any of these options will not delay any case management timelines.

l:] Medistion (court»connected) m Non~blnding private arbitration

I:] Ntec|iatton (private) |:] B|ndlrrg private arbitration

!:l Voluntery settlement conference (private) l:l Nen-bindlng judicial arbitration (dlsccvery until 15 days belore trial)
I:] Neutrat evaluation (privste) l:] Ncn-blndtng judicial arbitration (discevery until 30 days before trtal)
I:I Other (specr'n/ e.g., private mlnf~irisl, private judge, etc.}:

 

 

lt ls also stipulated that the icilowing shall serve as srb|trator, mediator or other neutral‘. (Nsme)

 

 

 

Aiternate neutral (for court Clvll Mediat|en Progrsm and arbitration eniy):

 

 

 

 

 

 

 

 

 

 

 

Date: Dete:

Name of P|e|ntiff Neme of Defendsnt

Signature Stgneture

Name of Plalntift‘s Aftcmey Nsme of Defendent's Attnmey
Signeture Signeture

tf there ere more parties and/or attomeys, please attach additional completed end fully executed sheets.

lt ls the dut?\r| of the 51

erties to notify the court cf env settlement pursuant to Ca|. Rules of Ccurt, rule 3.1385. t_ipon not|tlcaticn of the settlement,
the court w piece

his matter on a 45-dey dismissal calender.
No new parties may be added without leave el court.
lT |S 50 ORDERED.

 

Da{ad; 02114/2[}¢]3 JUL')GE OF THE SUPER|OR COURT
SDSG CW'-QEB [HBV 12'10]

s'rlPuLAnoN To use oF ALTERNATWE DlsFuTE REsoLuTIGN *’“H“"

 

 

 

 

SUPER|OR COUR'T OF CAL|FORNiA, CUUNTY OF SAN DlEGQ
STREEI ADDRESS: san Wast aroodwey

MA|LING ADDRESS: 330 West Einoadway
Gt'l"i" AND Z|P CODE: San DlEgo, CA 92101
BRANCH NAME: CBli|i’ai
TELEPHDNE NBMBER: (519] 45017£|"{5

 

PLAlNT|FF(S) l PET|TlONER(S): Lcanne Spar|ing et.at.

 

DEFENDANT(S) )' RESPONDENT(S): Usplabs LLC et.al.

 

SF‘ARLING VS. UBPLAES LLC

NoTicE oi= cAsE AssicNNiENT AND CASE NUMBER‘
case mANAGEMENT coNFERENcE 37-2013~00034663-cu-PL-cTL

 

 

 

CASE ASSIGNMENT
JUC|Q@I Richard E. L. Strauss Department: C-75

COMPLA|NTIFET|T|ON FILED: 02/131'201 3

' TYPE OF HEARING SCHEDULED DATE TthE DEPT JUDGE
Civil Gase Nianagement Conference 97126.'2013 10:‘15 am C-75 Richard E. L. Strauss

A case management statement must be completed by counsel for ali parties or self-represented litigants and timely filed with the court
at least 15 days priorto the initial case management conference (San Diego Loca| Ruies. [)ivision ll, CRG th|e 3.725).

A|| counsel of record or parties in pro psr shall appear at the Case_ivianagement Conference, be familiar with the case, and be fully
prepared to participate effectively in the hearing, including discussions of ADR'r options.

 

 

iT lS T}~lE DUTY OF EACH F'LAlN'i'|FF AND CROSS-COMPLA|NANT) TO SERVE A COPY OF THlS NOTlCE WlTH THE
COMPLA|NT AND CROSS»COMPLAIN ), THE ALTERNATEVE DISPUTE RESOE_UT|ON ADR lNFORMAT|DN FORN| (SDSC
FORM #ClV~ 30§ A ST|PULA'!'!ON TO USE. ALTERNATEVE DtSF'UTE RESOLUT|ON (AD ) (S SC FORN\ #ClV-359), AND OTHER
DOCUMENTS A SET OUT lN SDSC LOCAL RULE 2.'¥ .5.

ALL CDUNSEL WlLL BE EXPECTED TO BE FA|V|lL|AR W|Tl-l SLIPEREOR COURT RULES WH!CH HAVE BEEN PL|BLISHED AS
D|ViS|ON ll, AND WlLL BE STRlCTLV ENFORCED.

TiiviE STANDARDS: The following timeframes applth general civil cases end must be adhered to unless you have requested and
been granted an extension of ttrne. Genera| civil cases consist of all civil cases except sma|t claims proceedings
civil pettitons, unlawful detainer proceedings probate, guardianship. cr;)nservatorshipl juveni|e, parking citation
appee|s. and family law proceedings

COMPLA\NTS: Cornpieints and all other documents listed in SDSC Locai Ru|e 2,1.5 must be served on ali named defendantsl and
a Certificale cf Service (SDSC form #C|V-345) filed within 60 days of fliing.

DEFENDANT*S APPEARANCE‘. Defendant must generaily appear lwithin 30 days of service of the complaintl (P|a|nt|’rf may
stiputate to no more than 15 day extension which must be in writing and tiied with the Court.) (SDSC Locai Rule 2.1.6)

JURY FEES: in orderto preserve the right to a ju trial, each party demanding a §ury trial shall pay an advance jury fee in the
amount of one hundred fifty dotiars {$150 for each party on or before the date scheduled for the initial case management
conference in the action.

*ALTERNAT|VE DlSPUTE RESOLUT|ON (ADR): THE COURT ENCOURAGES YOU TO CONS|DER UTlLiZ|NG VAR|OUS
ALTERNATl\/ES TO TR|AL. |NCLUD|NG MED|AT|ON AND ARB|TRAT|ON. PRlOR TC) Ti-tE CASE MANAGEMENT CONFERENCE.
‘F’ART|ES MAY FtLE THE ATE`ACHED ST|PULAT|ON TO USE ALTERNAT|VE l.`)lSPUTE RESOLUT|ON (SDSC FORNI #CiV»BEQ).

 

SDSC ClV-72'1 (RBV. 03"'12) Pagl:‘l

NOT|CE OF CASE ASSiGNNlENT

 

 

 

Supcrior Court of California
County of Sa.n Dicgo

 

NOTICE OF ASSIGNMENT
TO IMAGING DEPARTMENT

This case has been assigned to an Imaging Dcpartment and original documents attached to
pleadings filed With the court Will be imaged and destroyed Origiual documents should not be

filed with pleadings If uccessary, they should be lodged with the court under Califoruia Rules of
Court, rule 3.1302(b).

On August 1, 2011 the San Dicgo Superior Court: began the Elcctronic filling and Irnaging Pilot:
Prograrn (“Prograrn”). As ofAugust 1, 2011 in all new cases assigned to en hanging Dopartment ali
filings will be imagcd electronically and thc electronic version of the document Will be the official
court filc. The official court file Will bc electronic and accessible at one of the kioslcs located in the

Civil Busincss Officc and on the lnternct through the court’c wobsitc. This Program will bc expanding
to other civil courtrooms over time

You should bc aware that the electronic copy of the filed document(s) Will be the official court
record pursuant to Government Codc section 68150. The paper filing Will bc imaged and held for
30 days. Aitcr that time it will be destroyed and rccycicd. 'I‘llus, you should not attach any
original documents to pleadings filed With the San Diego Superior Court. Original documents
filed With the court will bc imaged and destroyed except those documents specified in
California Rules of Court, rule 3.18{)6. Any original documents necessary for a motion hearing or
trial shall be lodged in advance of the hearing pursuant to California Rulcs of Court, rule 3.1302(!:-).

lt is the duty of each plaintiff, cross-complainant or petitioner to serve a copy of this notice With
the complaint, cross-complaint or petition on all parties in the action

On all pleadings filed after the initial case originating filing, all parties must, to the extent it is
feasible to do so, place the Words “IMAGED FILE” in all caps immediately under the title of the
pleading on all subsequent pleadings filed in the action.

'Please refer to the General Ordcr - Imaging located on the
San Diego Superior Court Website at:

http:/iwww.sdcourt.ca.goviCivil|rnagingGeneratOrder

Pagai 2

 

 

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`sdonrrnte: spariing, et al. v usPLabs, LLC, et al. cesmnee

SUM-ZDD{A|

 

 

 

 

lNSTRUCTlONS FOR USE

'P> This form may be used as an attachment to any summons if space does not permit the listing of all parties on |he summons
-b lf this attachment ls used, insert the following s|alement in the plalntltf or defendant box on the summons "Addillonal Perlies
Aliachmenl form ls attached."

List addltional parties (Check only one box. Use a separate page for each type of party,):

l::l Plalnllff l:l Defendant l:l Cross-Oomplainant l::l Cross-Deferldani

UsPLABS, LLC,

JONATHAN VI-NCENT DOYLE tan individual),
JACOB GEISSLER(an individual) ,

usPLAss Jacaso, LLc,

UsPLA_Bs HOLDING, LLC,

GNC CORPORATION,

NATURAL ALTERNATIVES INTERNATIONAL, INC.,
and DOES 1-500, Inclusive,

Paga 1 0! 1
Fage 1 ol'1
Form Adoplod lor Mandalury Use

cla lo a|lfomlu ADD|T|ONAL PART|ES ATTACHMENT al
sudu$uq.ii:;iz"xaai\§wy1.zcon Attachment to Summons SO!U'H ‘EB§`

 

 

 

 

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cnsE NArnE: Elpar:ling, cl:. al, v USPLale, LLC, et "a:l..

 

C|Vll_ CASE COVER SHEET vwtv?ornpla>< Case Dp§ig:ralion case uuanea:
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lAmOU"l (A'Tmu“l ._ Fiiec| wilh first appearance by defendant -lUDUEl
§§g`e?z'ilcie§]zs,ooo) §§g:dddeodr l;ss) (C€'l- limits Of Courl. rule HAUH) corn

 

 

 

 

llerns 'l-G below must be completed lace installations on page 2).

 

 

l. Cl\eck one box below for the case type that best describes this case:
Aulo Tort Contrac:t Provlslonally Comp|ex Clvll Lillgatlon
l:l Aulo (22) l__:l l?lrear:h oiconlreclfwarranly {UE] lC:l Ru|es of Court, rules 3.400-3.403)
l:_] Unlnsurecl molor|st (45) [_`:_l pole 3,740 colleg\ion§ (ng) l__l Anlllrusul”rada regulation (03)
OLlaer PllPDlWD lPorsonal lnjury!Proporty E:] Omer cD"BC[iD"S (09) l:_:l Construclico defect (10)
DTr_\-a_l]clwronglu| Deathl Torl `v… |"Sumnce wmmge c 18) |;:‘} Mass 1011 (40)
l___l Ashesloa (D'l) § Olher contract (37) l::l Securlties litigation (?.8)
m Procluct liability {24) Ron| Property l::l lEnvironmenfa|ch>:lc tort (30)
l::l lv'ledica| malpractice (d B) l::l L=.rninenl domelnl|nverse l::l |nsurance coverage c|alms arising from the
l'_:] 9mm- |:1;PD/WD (23) _r__ __ Colldem“allol'\ ll‘l) above lisl€d PIU\'lSani-illy complex case
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l:l lnlel|ectual property (19) l`::l Drugs (38} ' ' l:::l Ollicr complaint {ncl specified above) (42)
l::l Prolessional negligence (25} .lucllcial Rcvlew Mlsce|laneous Civll Petllion
::l Othcr ncn-F’UPUN\!D lorl (35] l-_:l r\ssei forfeiture (DS) _ l::l Partnersh|p and corporate governance {21]
Emplcymeot l::l Pelllicn rc: arbitration award {11) l::j Olhcr polllion (nol specified abova) (43}
lp] Wronglul larrnlnallon (36} l:l W[il of manda[@ {(]2)
l: C~lher employment (15l :l Olher judicial review (353)

 

 

3.

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l . `¥'his case l)"i:l ls l:l is nol complex under rule 3.400 ofthe Caiifornia Ru|es ofCoLll'l. lillie case ls complex, mark the

laclo'r_§_ requiring exceptional judicial management ____

a_ l_}',’_l Largo number of separately represented parties d. l_)_(__l barge number of witnesses

|). l:}§:l Exlcnsivc motion practice raising consult or novel e. l:"l Coorcl`rnallon with related actions pending tn one or more courts
issues that will be time-consuming to resolve in other counties stales, or ccuntries, or in a federal court

c. l:l Suoslanllal amount ol documentary evidence l. L___l Suostanlial poslludgmentjudiclal supervision

Rernedies sought (r;!teclr all that apply).' a, l:<:l monetary b. lE nonmonetary; declaralory or injunctive relief c. l:_l_;{:l punitive

. I\Jumber of causes cl action (spccffy): 9
Thls case ,,,,,,, is XM ls not a class action suit

 

 

6. li there are any known re|a|ed cases. tile and serve a nolice ol refalecl case. {You ay us form CM»O'H)`.}
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undertlli,e Probale Code, Farni|y Cocle, orWellaro and Fnslilulions Code). (Ca|. Rules olCourl, role 3.220.) Fal%ure lo tile may result
en sane lons.

1. l:i|e this cover sheet in addllion lc any cover sheet required by local court rule.

c lt lhis case is complex under rule 3.400 el seq. of lho California Rulos cl Courl, you must serve a copy oll|ns cover sheet on atl
other parties to the action or proceeding

v Unless lhis is a collections case under rule 31le ol' a complex case, l|dls dover Sheel Wi|l be used for slatisl`loa| purposes on|y.

 

 

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Ldi P us

 

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"‘_' rNsTRuc- - s on now To comPLETE THE cov HEET CNi-OW
To P|aihtiffs and Othors Fiting First Pap ..s. lt you are filing a lirst paper tier exampls, o complaint) in a civil case, you must
complete and lile, along with your lirsl paper, the Clvll Case Covor Shool contained on page 't. This information will be used lo compile
statistics about the types and numbers of cases tileci, You must complete items 1 through 6 on the sheet tn item 1, you must check
one box lor the case type that best describes the casa. lt the case its both a general and a more specinc type please listed in item l.
check the more specific onc. |f the case has multiple causes of acticn, check the box that best indicates the primary cause cf action.
To assist you in completing the sheet, examples of the cases that belong under each case type |n item 1 are provided below. A cover
sheet must be fried only with your initial paper. Failure to file a cover sheet with the lirst paper filed in a civil case may subject a party. its

counsel. or both to sanctions under rules 2.30 and 3220 oflhe California Rules of Court.

To Parties in Rule 3.740 Col|ections Casos. A "colleolions cese" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorneys fses, arising from a transaction in which
property, services, or money was acquired on credit A collections case does not include an action seeking the following: (1) tort
damages (2) punitive damages (3) recovery of real properly, (4) recovery of personal propsdy, or (5) a prejudgment writ of attachment
The identification of a case as a rule 3.740 collections case on this form means that it wiil be exempt from the general timo*for-servioe
requirements and case management rules. unless a defendant liles a responsive pleading. A rule 3.740 collections case will be subject
to the requirements for service and obtaining aludgmont in rule 3.740.
To Partles in Comp|ex Cases. |n complex cases on|y. parties must also use the Clvll Case Cover Sheel to designate whether the
case is complex lf a plaintiff believes the case is complex under rule 3.400 of the Callfornia Ruies of Court, this must be indicated by
completing the appropriate boxes tn items ‘l and 2. lf plaintiff designates a case ss complex, the cover sheet must be served with the
complaint on all parties to the oction. A defendant may file and serve no later than the time of its lirst appearance o joinder in the
plaintist dcsignation, a counter~designalion that the case is not complex, or, if the plaintiff has made no destgnatlon, a designation that

the case is complexl

Auto Tort
Aulo (22)-Psrsona| lnlurylProperty
Damagslllllronglul Dealh

Uninsursd Molcr|st (45) (iflhe
case involves an uninsured
motorist claim subject lo
arbitrafforr. check this item
instead ofAulo)

Dlher P|lPDlWD lPersona| lnjuryl
Propelty Damagelwrongful Death]
Tort

Asbostos (04)

Asboslos F'roperty Damage
Asbestcs Parsona| |njuryl
\Nrongful Deatl'l

Product L|ablllty (.nol asbestos or
toxic/envimnmenfal) t24)

tvledlcal Malpracltco l45)

Medicat ltf|stprecticom
Physlc|ans & Surgeons

Olher Professionat Heatth 0er
Malpractice

Othsr PllPDlWD (23)

Premiscs Liabil!ly (e.g., slip
and falt)

lntentiona| Elodity lnlurylPDlWD
{e.g., assault, vandalism)

intentional lnfltclton of
Emotional Dislress

ng|igent lni'l|ctton of
Ernolional Distress

Olher P!lPDlWD

Non-P|lPDlWD (Other'l Tort

Bus|ness TorllUnfair Business
Proct|ce (07)

Civt| nghls (e.g.. discrimination
false arrest) foot civil
harassmenl) (DB)

Delamat|ort (e.g., slander, libe|)
l13}

Fraud (16)

intellectual Propony t19)

Professiorrel Negligonce (25)
Legal Nlalpracl|co
Olher Frofasslonal Nlalpracltce

foot medical or legal)

Other Non»PllPDlWD Tort l35)

Employrnent
Wrongfu| Term|natton {36)
Other Employrnent {'15)
CM-UlD|Fl.ov. July 1, ZDD?]

CASE TYPES AND EXAMPLES

Contract
Breach of Contractlllllarranly (08)
Broach of RerllsllLease
Contract {rrul unlawful detainer
or wrongful eviction)
Contractlllllarranly Brear:h-Setler
Plalnlilt (nol fraud ornegllgence)
Negligent Brecch cf Contracti
Warranty
Other Brecch cf Ccnlractlwarranty

Col|actlons (e.g.. money owod. open
book accounts) (09) _
Colleotlon Case-Selter Plaintiff
Other Promlssory Noleloolleclionc

Oaso

lnsuranca Coverage (nol provisionally
complex) (18]

Auto Subrcgalton
Olher Coverage

Olher Contract tart
C:cntrectual Fraud
Othsr Conlracl Dispuls

Real Pmparty

Emlnent Dornainl|nversa
Condemnalton (i¢l)

Wrongful Evlclion {33)

Olher Resl Propody (e.g.. quiet ltlle) (28)
ert of Possession of Roal Property
Mort|sge Foreclosure
Ctulet Tlllc
Other Rea| Property {not eminent
domafn, larrdlorl:t/lenanll or
loreclosu.re)

Un|awful Detainer

Commercial {31}

Residentis| (32)

Drugs tE»B) fit thal case involves illegal
drugs check this llom,' olherwlse,
report ss Commemiai or Rosidentlol)

J udicial Rovlcw

Asset Forfslture (05)

Pctilion Re: Arbltrat|on lllw.'z=rrd (1 1)

ert ct lvlandale lUZ)
Writ-Adminlslralivs Nlandamus
Wn'l-Nlandamus on Lirniled Coud

Case Maltsr
Writ-Olhcr limited Court Case
Rcview

Other .Jud|cio| Ftevtew (39)

Rev[ew of Hea|lh Otliccr Order
Notice of Appeal-Labor
Commlsslcn¢r Appeals

ClVIL CASE COVER SHEET

Provlsinnally Complox Clvil litigation lGal.
Rules of Court Rules 3.400-3.403)

AntitrustlTrado Rogutallon (03)
Dcnslruction Dafsci (10)
C|ltms involving lllless Torl (40)
Securllies Lillgatiort (28)
Envtronmentalrroxlc Tort (30)
insurance Coverage C|aims
|'on'sr'ng from provisionally complex
case type listed abova) [4'1)

Enforcement of dudgment

Enforoemsnl of Judgment (20)

Abslracl of Judgment (Dut of
Counly)

Ccnfession of Judgmsnl (non-
domestic relolfons)

Sisler Slate Judgment

Adm|nistratlve Aganoy Awsrd
(not unpaid laxes)

PelilicnlCertiHcation of Entry of
Judgmenl on Unpaid Taxes

Otbcr Eniorcoment of Judgmcnl

- Case

Ntiscellaneous Clvll Cornpla|nt

arco (27) ‘
Other Comp|alnt (not speculin
above) (42)

Declaratory Rs||ef Only

injunctive Relief Oniy {non~
harassmenl')

Mechlnics L|en

Olher Cornmercia| Complainl
Case (non-lorl/non-complax)

Othor Clvll Complaint
fnon-lort/non-complox)

Nllscallanaous Civil Pctltion

Parlnershlp and Corporate
Govsrnance 121)
Other Petition (nol speoilieci
above) (43)
Clvll Harassrnent
Workplaca Violcrrco
EldorlDependsnt Adult
Abuso
Eleclion Corlle§l
F'etl\ton for Name Change
Feiillon for Relief from Late
Clairn
Other Clvll Pelltlon

Pagn 2 olZ

 

 

